       EXHIBIT A




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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  ROANOKE DIVISION

CHRISTOPHER FEAMSTER,                          §
ROBERT MIHALIC, and EARL                       §
JEANSONNE, individually and on                 §
behalf of all similarly situated               §
individuals,                                   §        Civil Action No. 7:15-cv-00564
                                               §
                    Plaintiffs,                §
                                               §
CompuCom Systems, Inc.,                        §
                                               §
                    Defendant.                 §

                SETTLEMENT AND GENERAL RELEASE AGREEMENT

       This Settlement and General Release Agreement (this “Agreement”) is made by and

among named Plaintiffs Christopher Feamster (“Feamster”) , Robert Mihalic (“Mihalic”) and

Earl Jeansonne (“Jeansonne”) and opt-in Plaintiffs Kaleb Yoder (“Yoder”) , Louis Tirado

(“Tirado”) , Ronald Clark (“Clark”), and Eric Harris (“Harris”), (collectively referred to as

“Plaintiffs,”) and Defendant CompuCom Systems, Inc. (“CompuCom”) (the term

“CompuCom” shall include its parent, subsidiary, affiliate, predecessor, and/or successor

companies, if any, as well as its past and present officers, administrators, directors, shareholders,

general or limited partners, representatives, agents, employees and/or attorneys, if any

(collectively, the “CompuCom Released Parties”). Plaintiffs and CompuCom will be referred

to collectively as the “Parties” or individually as a “Party.”

                                           PREAMBLE

       WHEREAS, Feamster is an individual who maintains his principal place of residence in

Blacksburg, Virginia;




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       WHEREAS, Mihalic is an individual who maintains his principal place of residence in

Knoxville, Tennessee;

       WHEREAS, Jeansonne is an individual who maintains his principal place of residence in

Alexandria, Louisiana;

       WHEREAS, Yoder, is an individual who maintains his principal place of residence in

Fort Collins, Colorado;

       WHEREAS, Tirado is an individual who maintains his principal place of residence in

Austintown, Ohio;

       WHEREAS, Clark is an individual who maintains his principal place of residence in

Antioch, Tennessee;

       WHEREAS, Harris is an individual who maintains his principal place of residence in

Beaumont, Texas;

       WHEREAS, CompuCom Systems, Inc. is a corporation organized under the laws of

Delaware with its principal place of business in Dallas, Texas;

       WHEREAS, on October 20, 2015, named-Plaintiffs Feamster, Mihalic and Jeansonne

brought a putative class and collective action lawsuit against CompuCom in a lawsuit styled,

Christopher Feamster, Robert Mihalic and Earl Jeansonne, individually and on behalf of all

similarly situated individuals v. CompuCom Systems, Inc., Civil Action No. 7:15-cv-00564, in

the Western District of Virginia (the “Feamster Lawsuit”), in which the named-Plaintiffs

asserted wage and hour claims against CompuCom arising out of their employment relationship

with CompuCom;

       WHEREAS, on October 20, 2015, named- Plaintiffs Feamster, Mihalic and Jeansonne

also filed a Motion for Conditional Class Certification;



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        WHEREAS, on November 6, 2015, Yoder and Tirado filed their Consents to join the

Feamster Lawsuit as Plaintiffs;

        WHEREAS, on December 2, 2015, Clark filed his Consent to join the Feamster Lawsuit

as a Plaintiff;

        WHEREAS, CompuCom vigorously denies the allegations and claims asserted in the

Feamster Lawsuit and on December 7, 2015, filed its Motion to Dismiss or, in the alternative, for

Summary Judgment seeking the dismissal of the Feamster Lawsuit;

        WHEREAS, on December 9, 2015, CompuCom filed its Motion to Stay Consideration of

Plaintiffs’ Motion for Conditional Class Certification;

         WHEREAS, on January 13, 2016, Harris filed his Consent to join the Feamster Lawsuit

as a Plaintiff;

        WHEREAS, the Parties desire to compromise, resolve, and settle the claims, allegations

and causes of action which were or could have been asserted in the Feamster Lawsuit, finally and

forever, in order to avoid the uncertainty, time and expense which would accompany the

Feamster Lawsuit and any anticipated appeal thereof; and

        WHEREAS, the Parties have agreed, without any Party admitting liability of any kind, to

enter into this Agreement pursuant to which each and every claim and/or cause of action asserted

or which could have been asserted by Plaintiffs against the CompuCom Released Parties will be

forever and finally released and the Feamster Lawsuit will be dismissed with prejudice, except as

may be specifically provided otherwise herein.

        NOW, THEREFORE, in consideration of the covenants and mutual promises and

agreements herein contained, and other valuable consideration, the sufficiency of which is

hereby acknowledged, the Parties agree as follows:



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1.0.   Compromises and Effective Date

       1.1.   The Parties hereby agree that neither the giving of any consideration hereunder

nor its acceptance shall operate as or be evidence of any admission of liability for any claim

hereby released, and further agree that, by the execution of this Agreement, the Parties do not

admit the truthfulness of any of the claims or allegations made by any opposing party; rather,

such claims, allegations and liability have been, and are hereby, expressly denied by each of the

Parties. This Agreement has been made and entered into solely in order to compromise and

settle all claims between the Parties, and the Parties expressly deny any violation of state or

federal laws or regulations or company policies or procedures.

       1.2.   This Agreement shall be effective as of the date on which the last of the Plaintiffs

signs this Agreement (the “Effective Date”).

2.0.   Payment by CompuCom

       2.1.   For and in consideration of the covenants and/or promises contained herein, the

receipt and sufficiency of which are hereby acknowledged, no later than ten (10) business days

after all Plaintiffs have returned an executed and originally-signed copy of this Agreement to

CompuCom’s counsel of record, CompuCom will pay Plaintiffs and their attorneys the following

sums totaling $132,868.14;

       a.     CompuCom shall deliver two checks totaling an amount of $8,326.00

(collectively, the “Feamster Settlement Payment”) to Feamster’s counsel of record, Kevin J.

Stoops, as follows: (i) a check shall be made payable to Feamster in the amount of $4,163.00 for

unpaid wages allegedly owed to Feamster under the Fair Labor Standards Act (the “Feamster

Alleged Unpaid Wages”) (the Parties acknowledge and agree that the Alleged Unpaid Wages

paid to Feamster shall be attributable to back wages and, as such, CompuCom shall withhold



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applicable taxes from the Alleged Unpaid Wages paid to Feamster); (ii) a check shall be made

payable to Feamster in the amount of $4,163.00 for liquidated damages attributable to the

Alleged Unpaid Wages; and

       b.     CompuCom shall deliver two checks totaling an amount of $10,718.40

(collectively, the “Mihalic Settlement Payment”) to Mihalic’s counsel of record, Kevin J.

Stoops, as follows: (i) a check shall be made payable to Mihalic in the amount of $5,359.20 for

unpaid wages allegedly owed to Mihalic under the Fair Labor Standards Act (the “Mihalic

Alleged Unpaid Wages”) (the Parties acknowledge and agree that the Mihalic Alleged Unpaid

Wages shall be attributable to back wages and, as such, CompuCom shall withhold applicable

taxes from the Mihalic Alleged Unpaid Wages to be paid); (ii) a check shall be made payable to

Mihalic in the amount of $5,359.20 for liquidated damages attributable to the Mihalic Alleged

Unpaid Wages; and

       c.     CompuCom shall deliver two checks totaling an amount of $14,931.84

(collectively, the “Jeansonne Settlement Payment”) to Jeansonne’s counsel of record, Kevin J.

Stoops, as follows: (i) a check shall be made payable to Jeansonne in the amount of

$7,465.92 for unpaid wages allegedly owed to Jeansonne under the Fair Labor Standards Act

(the “Jeansonne Alleged Unpaid Wages”) (the Parties acknowledge and agree that the

Jeansonne Alleged Unpaid Wages shall be attributable to back wages and, as such, CompuCom

shall withhold applicable taxes from the Jeansonne Alleged Unpaid Wages to be paid); (ii) a

check shall be made payable to Jeansonne in the amount of $7,465.92 for liquidated damages

attributable to the Jeansonne Alleged Unpaid Wages; and

       d.     CompuCom shall deliver two checks totaling an amount of $6,948.48

(collectively, the “Yoder Settlement Payment”) to Yoder’s counsel of record, Kevin J. Stoops,



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as follows: (i) a check shall be made payable to Yoder in the amount of $3,474.24 for unpaid

wages allegedly owed to Yoder under the Fair Labor Standards Act (the “Yoder Alleged

Unpaid Wages”) (the Parties acknowledge and agree that the Yoder Alleged Unpaid Wages

shall be attributable to back wages and, as such, Compucom shall withhold applicable taxes from

the Yoder Alleged Unpaid Wages to be paid); (ii) a check shall be made payable to Yoder in the

amount of $3,474.24 for liquidated damages attributable to the Yoder Alleged Unpaid Wages;

and

       e.     CompuCom shall deliver two checks totaling an amount of               $15,155.71

(collectively, the “Tirado Settlement Payment”) to Tirado’s counsel of record, Kevin J. Stoops,

as follows: (i) a check shall be made payable to Tirado in the amount of $7,577.85 for unpaid

wages allegedly owed to Tirado under the Fair Labor Standards Act (the “Tirado Alleged

Unpaid Wages”) (the Parties acknowledge and agree that the Tirado Alleged Unpaid Wages

shall be attributable to back wages and, as such, CompuCom shall withhold applicable taxes

from the Tirado Alleged Unpaid Wages to be paid); (ii) a check shall be made payable to Tirado

in the amount of $7,577.85 for liquidated damages attributable to the Tirado Alleged Unpaid

Wages; and

       f.     CompuCom shall deliver two checks totaling an amount of               $13,491.71

(collectively, the “Clark Settlement Payment”) to Clark’s counsel of record, Kevin J. Stoops,

as follows: (i) a check shall be made payable to Clark in the amount of $6,745.85 for unpaid

wages allegedly owed to Clark under the Fair Labor Standards Act (the “Clark Alleged Unpaid

Wages”) (the Parties acknowledge and agree that the Clark Alleged Unpaid Wages shall be

attributable to back wages and, as such, CompuCom shall withhold applicable taxes from the

Clark Alleged Unpaid Wages to be paid; (ii) a check shall be made payable to Clark in the



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amount of $6,745.85 for liquidated damages attributable to the Clark Alleged Unpaid Wages;

and

       g.      CompuCom shall deliver two checks totaling an amount of $10,296.00

(collectively, the “Harris Settlement Payment”) to Harris’s counsel of record, Kevin J. Stoops,

as follows: (i) a check shall be made payable to Harris in the amount of $5,148.00 for unpaid

wages allegedly owed to Harris under the Fair Labor Standards Act (the “Harris Alleged

Unpaid Wages”) (the Parties acknowledge and agree that the Harris Alleged Unpaid Wages

shall be attributable to back wages and, as such, CompuCom shall withhold applicable taxes

from the Harris Alleged Unpaid Wages to be paid ); (ii) a check shall be made payable to Harris

in the amount of $5,148.00 for liquidated damages attributable to the Harris Alleged Unpaid

Wages; and

       h.      Two checks shall be made payable to Plaintiffs’ counsel of record, Kevin J.

Stoops, (i) the first in the amount of $50,000.00 for attorneys' fees incurred by Plaintiffs in

connection with prosecuting the claims asserted or which could have been asserted in the

Feamster Lawsuit (“Attorneys’ Fees Payment”) ; and (ii) the second in the amount of $3,000.00

for costs incurred by Plaintiffs in connection with prosecuting the claims asserted or which could

have been asserted in the Feamster Lawsuit(“Expense Payment”).

       2.2.    The Parties agree that the Feamster, Mihalic, Jeansonne, Yoder, Tirado, Clark and

Harris Settlement Payments and the Attorneys’ Fees Payment and Expense Payment shall

constitute consideration and payment in full for (i) all claims Plaintiffs have or may have against

the CompuCom Released Parties; (ii) any and all attorneys' fees, expenses, costs of court and any

other unknown fees, costs and/ or expenses incurred by Plaintiffs and/or their legal counsel in the

Feamster Lawsuit (including, without limitation, fees and costs incurred by Kevin J. Stoops and



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Sommers Schwartz, P.C.); and (iii) Plaintiffs’ releases, promises, and obligations contained

herein.

          2.3.   Plaintiffs acknowledge and understand that CompuCom shall issue necessary tax

reporting forms for the Settlement Payments paid to each Plaintiff pursuant to this Agreement.

So long as CompuCom complies with the provisions of Section 2.1, Plaintiffs understand and

agree that each of them shall be responsible for the payment of any and all taxes, assessments, or

other financial obligations, whether federal, state, or local, which are legally required to be paid

by them in connection with the Settlement Payment. Plaintiffs further understand and agree that,

if the Internal Revenue Service or any other federal, state, or local governmental agency

determines that some or all of the Settlement Payment is subject to federal, state, and/ or local

taxes on account of and arising out of any action and/or inaction by Plaintiffs regarding the

reporting and/or payment of said taxes on the Settlement Payment, and if, as a result of

Plaintiffs’ failure to report the payments set forth herein, or any other action and or inaction on

the part of Plaintiffs, the Internal Revenue Service or any other federal, state, or local

governmental agency assesses taxes and/or interest or imposes a fine and/ or a penalty against

Plaintiffs or the CompuCom Released Parties, they will be responsible for any expenses and fees

incurred in connection with such assessed taxes and/or interest or imposed fine and/or penalty.

3.0.      Execution and Delivery of Affidavit

          3.1.   Affidavit. Jeansonne, Tirado, and Clark will execute an affidavit in the form

attached hereto as Exhibit “A”, certifying under oath that (i) the Settlement Payment comprises,

represents and reflects payment in full for any unpaid wages and liquidated damages owed to

them for all time worked by them on behalf of CompuCom up to and including the Effective

Date, (ii) each understands he is obligated by CompuCom’s policies to accurately record all time



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 spent working, including but not limited to overtime, as well as time spent performing

 “administrative duties,” and (iii) he will accurately record all time actually worked by him for

 CompuCom from the Effective Date going forward.

 4.0.   Releases by Plaintiffs and their Counsel

        4.1.    Release by Plaintiffs. For and in consideration of the covenants and/or promises

 contained herein, the receipt and sufficiency of which are hereby acknowledged, Plaintiffs, on

 behalf of themselves and their spouses, family, assigns, representatives, agents, and heirs, if any,

 hereby fully, finally, and forever RELEASES, ACQUITS, and DISCHARGES the CompuCom

 Released Parties, jointly and severally, from, and covenants not to sue the CompuCom Released

 Parties, jointly and severally, for any and all claims, demands, actions, causes of action, other

 liabilities, and/or damages, if any, known or unknown, whether arising at law, by statute, or in

 equity, which Plaintiffs, or any other person or entity claiming by, through or under them, may

 have or claim to have, jointly or severally, against the CompuCom Released Parties that in any

 way arise out of or are connected with acts, omissions, conduct, relationships, occurrences,

 dealings, communications, events, and/or transactions that have occurred on or before the

 Effective Date, including, without limitation, the claims asserted in the Feamster Lawsuit and

 any other contractual, constitutional, statutory, or common law or tort claims whatsoever,

 including, without limitation, any claims for overtime, straight time, minimum wage, meal

 period premiums, rest period premiums, travel time, off-the-clock time, itemized wage

 statements, restitution, damages, interest, and costs and attorneys’ fees, the Fair Labor Standards

 Act, 29 U.S.C. § 201, et seq. (specifically including the Equal Pay Act), as amended, 29 U.S.C. §

 201, et seq.;, and any applicable state wage and hour law as well as any claims arising out of or

 based upon any allegations seeking to recover wages, salary, front or back pay, or any other such



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 employee-related compensation or benefits, or based upon allegations of breach of contract, or

 promissory estoppel.

        4.2.    Release of Attorneys’ Fees, Court Costs and Expenses.              Kevin J. Stoops

 (“Stoops”) and Jesse L. Young (“Young”) and their law firm Sommers Schwartz, P.C., Timothy

 J. Becker (“Becker”) and his law firm Johnson Becker, PLLC, and Cindra M. Dowd (“Dowd”)

 and her law firm Law Offices of Richard J. Serpe, P.C. have represented Plaintiffs with respect

 to the claims asserted in the Feamster Lawsuit. By executing this Agreement, Stoops, Young,

 Becker, and Dowd on behalf of themselves and their respective law firms, acknowledge that all

 claims for attorneys’ fees, costs, court costs or other recoverable expenses that any of them or

 any attorneys affiliated with any of them, or any attorneys who have served as Plaintiffs’ counsel

 of record in the Feamster Lawsuit, may hold independently against the CompuCom Released

 Parties, as Plaintiffs’ legal counsel in the Feamster Lawsuit, are satisfied by the consideration of

 the covenants and/or promises contained herein, and hereby release any claims any of them or

 any attorneys affiliated with them, or any attorneys who have served as Plaintiffs’ counsel of

 record in the Feamster Lawsuit, might have against the CompuCom Released Parties.

        4.3.    The Parties acknowledge and agree that the releases set forth herein do not

 include any claims a Party may have against any other Party for a failure to comply with or

 breach of any provision of this Agreement.

 5.0.   Disposition of Legal Proceedings

        5.1.    Dismissal of Feamster Lawsuit. No later than three (3) business days after the

 later of CompuCom delivering an executed copy of this Agreement or the Court approving the

 proposed settlement, Plaintiffs’ counsel of record agrees to file a Stipulation of Dismissal with




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 Prejudice. Except as otherwise may be provided herein by the terms of this Agreement, the

 Parties agree to bear their own costs, expenses and attorneys' fees.

        5.2.    Dismissal of Governmental Proceedings. Plaintiffs acknowledge and affirm

 that they have no charges of discrimination, harassment and/or retaliation or any other claim

 pending with the Equal Employment Opportunity Commission, Department of Labor, or other

 state or federal government agency against CompuCom. To the extent that any such charges

 exist, Plaintiffs agrees to undertake all necessary efforts to withdraw the charge(s) and to dismiss

 any proceedings associated with such charge(s).

 6.0.   Confidentiality

        6.1.    Non-Disclosure Obligations. PLAINTIFFS, on behalf of themselves and any

 person affiliated with them, including, without limitation, any lawyers who have represented

 them in connection with pursuing claims against the CompuCom Released Parties, acknowledge

 and agree that (i) the existence of this Agreement and (ii) the terms and provisions of this

 Agreement shall remain strictly confidential, and shall not be divulged, disclosed, or used for

 purposes (other than the settlement of this Feamster Lawsuit) by Plaintiffs, or anyone acting in

 concert or participation with them, except as set forth herein. Notwithstanding the foregoing,

 nothing in this subsection shall prevent the following disclosures of this Agreement: (i) Plaintiffs

 may disclose the terms of the Agreement to their spouse, attorneys, and tax advisors, if any; (ii)

 the CompuCom Released Parties may disclose the terms and existence of this Agreement to any

 manager, officer, agent, employee, insurance advisor, or tax auditor with a need to know such

 terms; (iii) the Parties may use this Agreement as evidence in a subsequent proceeding in which

 either of the Parties alleges a breach of this Agreement; and (iv) the Parties shall be permitted to

 disclose the terms of this Agreement where they are bound by a legal duty to disclose the terms



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 of this Agreement, including but not limited to, disclosures required pursuant to obligations

 under federal or state rules of discovery; provided however, the disclosing Party shall

 immediately notify the other Party of her/its intention to disclose the terms of this Agreement,

 and comply with the notice requirements delineated hereinafter in this Section. In order to allow

 the Parties to protect their interests in confidentiality, any Party and their/its agents (including,

 but not limited to, counsel) served with a subpoena, discovery request, or other similar legal

 instrument that could lead to a court order compelling disclosure of the terms of this Agreement

 shall notify the other Party of its intent to disclose the terms of this Agreement pursuant to such

 legal instrument at least seven (7) days prior to such disclosure. Other than the exceptions set

 forth herein, Plaintiffs and their counsel agree that they will not disclose, divulge, use or offer

 this Agreement as evidence in any proceeding or in any lawsuit unless required by law or court

 order. Plaintiffs covenant and represent that they have complied with each and all of the

 requirements set forth in this Section since October 20, 2015.

 7.0     Discovery Process/Assistance in Other Lawsuits

        7.1.    Plaintiffs and their attorneys of record (including, without limitation, Stoops,

 Young, Becker, and Dowd, and any members of their respective law firms) agree that discovery

 initiated, produced, and/or obtained by CompuCom in the Feamster Lawsuit cannot and will not

 be used in any other lawsuits, including without limitation any lawsuits initiated by any persons

 who were named-plaintiffs or opt-in plaintiffs in the Feamster Lawsuit. Further, Plaintiffs agree

 that they will not testify or submit an affidavit, declaration or affirmation in any other lawsuits

 involving CompuCom, including, without limitation, any lawsuits initiated by any persons who

 were named-plaintiffs or opt-in plaintiffs in the Feamster Lawsuit unless required to do so by

 subpoena or court order. Further, Plaintiffs agree that they will not assist or work with any



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 persons initiating any other lawsuits against CompuCom, including, without limitation, any

 persons who were named-plaintiffs or opt-in plaintiffs in the Feamster Lawsuit, unless required

 to do so by subpoena or court order.

        8.0.    Miscellaneous

        8.1.   Assignment of Claims. The Parties each represent and warrant to each other that

 neither has assigned or otherwise transferred to any person, party or entity any of the claims,

 demands, actions, liabilities, obligations or causes of action being released hereby. Plaintiffs

 further agree to indemnify the CompuCom Released Parties and to hold them harmless from any

 claims, demands, actions, liabilities, obligations and/or causes of action previously assigned or

 otherwise transferred.

        8.2.    No Reliance. In executing this Agreement, the Parties have not seen, heard or

 relied upon any promises, statements, representations, covenants, or warranties, whether express

 or implied, made by one another or by any representative or other person or entity, except to the

 extent that a matter is expressly stated in this Agreement. The Parties hereby waive and release

 any right or ability to seek to revoke, rescind, vacate, or otherwise avoid the operation and effect

 of this Agreement on the basis of any alleged fraudulent inducement, misrepresentation, or

 material omission by any of the Parties or their representatives, or on the basis of mutual or

 unilateral mistake of fact or law, or newly discovered information, and acknowledge that they are

 completely satisfied with this settlement, as reflected in this Agreement.

        8.3.    Authority. CompuCom expressly represents and warrants (a) that the execution

 and delivery of this Agreement (i) are within its powers, (ii) have been duly authorized by all

 necessary corporate action (or will hereafter be promptly ratified as such), and (iii) do not

 contravene any provision of any agreements to which it is a party or any law to which it is



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 subject, (b) that the undersigned is duly authorized to execute and deliver this Agreement, and

 (c) that, upon execution and delivery, this Agreement shall be the legal, valid, and binding

 obligation of it and enforceable in accordance with its terms.

           8.4.   Entire Agreement. This Agreement constitutes the entire understanding and

 agreement of the Parties, and supersedes prior understandings and agreements, if any, among or

 between the Parties with respect to the subject matter hereof. There are no representations,

 agreements, arrangements or understandings, oral or written, concerning the subject matter

 hereof between and among the Parties that are not fully expressed or incorporated by reference

 herein.

           8.5.   Amendments.     Any modification of this Agreement or additional obligation

 assumed by either Party in connection with this Agreement shall be binding only if evidenced in

 writing signed by each Party or an authorized representative of each Party. Additionally, this

 Agreement cannot be changed or terminated orally, but may be changed only through written

 addendum executed by both Parties.

           8.6.   Counterpart Originals.      This Agreement may be executed in multiple

 counterparts and all such counterparts so executed shall together be deemed to constitute one

 final agreement, as if one document had been signed by all of the Parties; and each such

 counterpart shall be deemed to be an original, binding the Party subscribed thereto, and multiple

 signature pages affixed to a single copy of this Agreement shall be deemed to be a fully executed

 original agreement.

           8.7.   Severability. The Parties acknowledge and understand that, if any term of this

 Agreement shall be determined by a court to be illegal, invalid, unconscionable or unenforceable,




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 the remaining provisions will remain effective and legally binding, and the illegal, invalid,

 unconscionable or unenforceable term shall be deemed not to be a part of this Agreement.

        8.8.    Binding Effect.       This Agreement and the terms, covenants, conditions,

 provisions, obligations, undertakings, rights and benefits hereof shall be binding upon, and shall

 inure to the benefit of, the Parties and their respective heirs, executors, administrators,

 representatives, officers, directors, shareholders, predecessors, successors, parents, subsidiaries,

 affiliated entities, spouses, agents, attorneys, servants, employees, principals, partners, whether

 limited or general, and assigns, if any. Each of the Parties represents and warrants that she or it

 has the authority to act on her or its behalf and to bind her or it to this Agreement.

        8.9.    Exercise of Rights. Any failure or forbearance by either Party to exercise any

 right or remedy with respect to enforcement of this Agreement or any instrument executed in

 connection herewith shall not be construed as a waiver of any of such Party's rights or remedies,

 nor shall such failure or forbearance operate to modify this Agreement or such instruments in the

 absence of a writing as provided above.

        8.10.   No Waiver. No waiver of any of the terms of this Agreement shall be valid

 unless in writing and signed by all Parties to this Agreement. The waiver by any Party hereto of

 any provision of this Agreement shall not operate or be construed as a waiver of any subsequent

 breach by any Party, nor shall any waiver operate or be construed as a rescission of this

 Agreement.

        8.11.   Choice of Law and Venue; Fees. The Parties agree that the Agreement shall be

 performed in Dallas, Texas, and that the laws of the State of Texas shall govern the

 enforceability, interpretation and legal effect of this Agreement. The Parties also agree that

 venue of any action to enforce the provisions of this Agreement or for breach hereof, or any



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 document executed in connection herewith, shall be in Dallas, Texas. The Parties also agree

 that the prevailing party in an action for breach of this agreement shall be entitled to recover

 attorneys’ fees in that litigation.

 9.0.    Voluntary Agreement

         9.1.    Plaintiffs acknowledge and understand that this Agreement is a release and waiver

 contract, and that this document is legally binding. Plaintiffs understand that by signing this

 Agreement, they are agreeing to all of the provisions set forth in the Agreement, and have read

 and understood each provision. The Parties acknowledge that Plaintiffs have been advised of

 their right and opportunity to consult with an attorney of their choice concerning the meaning,

 import, and legal significance of this Agreement.

         9.2.    The Parties hereby represent and warrant that, prior to signing below, each has

 had the opportunity to consult with legal counsel of his/its choice, has had a full opportunity to

 conduct discovery and investigate all claims and defenses, has read this document in its entirety

 and fully or satisfactorily understands its content and effect, and that he/it has not been subject to

 any form of duress in connection with this settlement, is completely satisfied with the settlement

 reflected in this Agreement, and accordingly agrees to be bound as described in this Agreement.

         IN WITNESS WHEREOF, the parties have executed this Agreement to be effective as

 set forth in this Agreement.

                   [The remaining portion of this page is intentionally left blank]




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 AGREED AS TO FORM:


 __________________________________________
 KEVIN J. STOOPS, ESQ., on behalf of himself and his law firm
 Attorney for Plaintiff


 __________________________________________
 TIMOTHY J. BECKER, ESQ., on behalf of himself and his law firm
 Attorney for Plaintiff

 __________________________________________
 CINDA M. DOWD, ESQ., on behalf of herself and her law firm
 Attorney for Plaintiff



 AGREED AS TO SUBSTANCE OF SECTIONS 4.3, 5.1, and 7.1:


 __________________________________________
 KEVIN J. STOOPS, ESQ., on behalf of himself and his law firm
 Attorney for Plaintiff


 __________________________________________
 TIMOTHY J. BECKER, ESQ., on behalf of himself and his law firm
 Attorney for Plaintiff

 __________________________________________
 CINDA M. DOWD, ESQ., on behalf of herself and her law firm
 Attorney for Plaintiff




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 CompuCom Systems, Inc.:



                                                           Date
 By:__________________________________________

 Title: ________________________________________



 STATE OF TEXAS              §
                             §
 COUNTY OF DALLAS            §


         BEFORE ME, the undersigned authority, on this day personally appeared
 ______________________________,              who         holds        the        position of
 ______________________________________ with CompuCom Systems, Inc., known to me to
 be the person and officer whose name is subscribed to the foregoing instrument, and
 acknowledged to me that she executed the same as the act and deed of CompuCom Systems, Inc.
 for the purposes and consideration therein expressed and in the capacity therein stated.

        Given under my hand and seal of office this ____ day of __________, 2016.



                                            Notary Public, State of Texas

                                            Notary Seal:




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